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1    LAW OFFICES OF JOHNNY L. GRIFFIN III
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5    Attorney for Defendant
     Gurminder Singh
6

7                               IN THE UNITED STATES DISTRICT COURT
8                            FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,                                )   Case No.: 2:06-cr-00238-MCE
                                                              )
11                     Plaintiff,                             )   STIPULATION AND ORDER TO
                                                              )   CONTINUE STATUS CONFERENCE
12            vs.                                             )
                                                              )   DATE: June 14, 2007
13   JASWANT KAUR, SUCHA SINGH,                               )   TIME: 9:00 a.m.
     ARJINDER SINGH and GURMINDER                             )
14                                                            )
     SINGH,                                                       Hon. Morrison C. England, Jr.
                                                              )
15                                                            )
16
                    Defendants.
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              Defendants, by and through their undersigned counsel, and the United States of
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     America, through Assistant United States Attorney Mary L. Grad, hereby agree and stipulate
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     to continue the status conference in the above captioned case from June 14, 2007 to August
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     2, 2007 at 9:00 a.m.1 This continuance is requested because counsel for defendants need
22
     additional time to conduct further investigation, to discuss the plea agreement with counsel
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24   for the government and engage in settlement negotiations.

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     1
       The parties have been advised by this Court’s Clerk that August 2, 2007 at 9:00 a.m. is an available date and time
     for a status conference on this matter.
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1               For these reasons, the parties stipulate and request that the Court exclude time within
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     which the trial must commence under the Speedy Trial Act from June 12, 2007 through
3
     August 2, 2007, for the defense preparation under 18 U.S. C. § 3161(h)(8)(B)(iv) (Local
4
     Code T4).
5
                Dated: June 12, 2007,                Respectfully submitted,
6
                                                              /s/ Mary L. Grad2
7                                                             MARY L. GRAD
                                                              Assistant U.S. Attorney
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9
                Dated: June 12, 2007                         /s/ Johnny L. Griffin, III
10                                                          JOHNNY L. GRIFFIN, III
                                                            Attorney for Defendant
11                                                          Gurminder Singh
12
                Dated: June 12, 2007                          /s/ Mark J. Reichel3__
13                                                            MARK J. REICHEL
                                                              Attorney for Defendant
14                                                            Jaswant Kaur

15              Dated: June 12, 2007                         /s/ John P. Brennan___
                                                            JOHN P. BRENNAN
16                                                          Attorney for Defendant
                                                            Sucha Singh
17
                Dated: June 12, 2007                        /s/ Jay Griener_____
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                                                           JAY GRIENER
19
                                                           Attorney for Defendant
                                                           Arjinder Singh
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     2
         Mary Grad telephonically authorized attorney Johnny L. Griffin, III to sign this Stipulation on her behalf.
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     3
      Mr. Reichel, Mr. Brennan and Mr. Griener telephonically authorized attorney Johnny L. Griffin, III to sign this
     proposed order on their behalf.
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1                                            ORDER
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             Based on the stipulation of the parties and good cause apparent therein, the Court
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     hereby finds that the failure to grant a continuance in this case would deny Defendant’s
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     counsel reasonable time necessary for effective preparation, taking into account the exercise
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     of due diligence. The Court specifically finds that the ends of justice are served by the
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     granting of such continuance and outweigh the interests of the public and the Defendant in a
7
     speedy trial.
8
             Based on these findings and pursuant to the stipulation of the parties, the Court
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     hereby adopts the stipulation of the parties in its entirety as its order.
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             IT IS SO ORDERED.
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     Dated: June 15, 2007
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                                                 __________________________________
15                                               MORRISON C. ENGLAND, JR
                                                 UNITED STATES DISTRICT JUDGE
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